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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF KENTUCKY
                             LOUISVILLE DIVISION

CHRISTOPHER D. MARKS,                            Case No. 3:17-cv-655-TBR

                  Plaintiff,

       v.

STERLING INFOSYSTEMS, INC. D/B/A
STERLING TALENT SOLUTIONS,

                  Defendant.


                                         ORDER

       This matter having come before the Court by Defendant Sterling Infoystems, Inc.’s

(“Defendant”) unopposed motion for an order allowing an extension of time to file a Reply in

support of its Motion to Dismiss; and the Court having considered this matter, and for good

cause shown;

It is ORDERED that Defendant’s time to file a Reply in Support of its Motion to Dismiss is

hereby to February 12, 2018.


Dated:____________________




                                                       January 30, 2018
